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 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
   akebeh@DanningGill.com
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7
                          UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                    LOS ANGELES DIVISION
10
   In re                                         Case No. 2:21-bk-16674-SK
11
   JINZHENG GROUP (USA) LLC,                     Chapter 11
12
                Debtor and Debtor in             CHAPTER 11 STATUS REPORT
13              Possession.
                                                 Date:    November 1, 2023
14                                               Time:    9:00 a.m.
                                                 Crtrm.: 1575
15                                                        255 East Temple Street
                                                          Los Angeles, CA 90012
16

17

18 TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE:

19

20            Pursuant to the Court’s Notice Setting Status Conference (doc. no. 573), Jinzheng Group

21 (USA) LLC, as debtor in possession (the “Debtor”), hereby submits its chapter 11 status report:

22

23            A.       General Case Background

24            On August 24, 2021 (the “Petition Date”), the Debtor filed its voluntary chapter 11 petition.

25            On January 25, 2022, the Office of the United States Trustee (the “United States Trustee”)

26 filed its notice of appointment of the Official Committee of Unsecured Creditors (the
27 “Committee”). The Committee retained Pachulski, Stang, Ziehl & Jones, LLP (“Pachulski Stang”),

28 to represent it in this Bankruptcy Case.

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 1            The Debtor was initially represented by Donna C. Bullock, Esq. On December 6, 2021,

 2 Debtor filed a substitution of attorney and a motion to employ new counsel naming Shioda,

 3 Langley & Chang, LLP (“Shioda Langley”) as its new counsel.

 4            On June 3, 2022, the Debtor filed a substitution of attorney, whereby Danning, Gill, Israel

 5 & Krasnoff, LLP (“Danning Gill”) replaced Shioda Langley as the Debtor’s general bankruptcy

 6 counsel. Shortly thereafter, the Debtor engaged Atkinson, Andelson, Loya, Ruud & Romo, APLC

 7 (“Atkinson”) as the Debtor’s special litigation counsel. The lead attorney at Atkinson, Damian

 8 Martinez, has changed law firms, and the Debtor expects to retain Mr. Martinez’s new firm and file

 9 an employment application in the near future.

10            The Debtor entered the Bankruptcy Case with the intent of reorganizing. On May 4, 2022,

11 Debtor, through its previous counsel, filed a Disclosure Statement and Combined Plan of

12 Reorganization (“the Disclosure Statement and Plan”). However, after experiencing various

13 economic and legal headwinds in the Bankruptcy Case, the Debtor switched gears to pursue a

14 liquidation strategy and sell all, or a substantial portion, of its assets. Shortly after Danning Gill

15 substituted in to the Bankruptcy Case, on June 16, 2022, the Debtor filed the Stipulation to

16 Withdraw the Disclosure Statement and Plan, and the Court approved the Stipulation the next day.

17            In pursuit of sales of its properties, Debtor sought to retain various real estate and

18 accounting professionals. After Applicant filed several employment applications, the Court entered

19 several orders authorizing the employment of the following professionals for the Debtor: Avenue 8

20 as real estate broker; Koo, Chow & Company, LLP (“Koo”) as accountants; Stephen Eng as

21 property manager; The CREM Group together with Marcus & Millichap as co-real estate brokers;

22 and Re/Max of Cerritos together with Coldwell Banker as co-real estate brokers.

23            The Debtor has completed the sales of certain real properties, while its largest real property

24 asset was foreclosed. The Debtor’s remaining assets are a number of adversary proceedings, which

25 are comprised of:

26            1)       Two removed actions which include allegations of breach of fiduciary duty,
27 misrepresentation, breach of contract, among other claims arising under state law, docketed as

28

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 1 adversary numbers 2:22-ap-01088-SK and 2:22-ap-01090-SK, which Mr. Martinez is prosecuting

 2 on behalf of the Debtor (the “Removed Actions”); and

 3            2)       Eighteen avoidance actions being prosecuted by Danning Gill in this bankruptcy

 4 case (the “Avoidance Actions”). Twenty-one avoidance actions were originally filed and the

 5 Debtor has dismissed or will dismiss three of the complaints.

 6            The Debtor intends to propose a chapter 11 plan of liquidation which will allow the Debtor

 7 to continue prosecution of the above litigation claims to final judgment, settlement or other

 8 appropriate disposition, after confirmation of the plan. The estate currently has significant

 9 administrative expenses that the Debtor lacks funds to pay in full on the effective date. The

10 Debtor’s counsel is working with the other administrative creditors, particularly the chapter 11

11 professionals, to gain their consent to payment of their allowed and unpaid fees pursuant to such

12 plan of liquidation. The Debtor believes that it will be able to gain the support of the other

13 professionals and meet the other requirements for approval of such a plan. In particular the

14 Debtor’s counsel is in regular and productive communication with the Committee’s counsel and

15 they are working toward such a resolution.

16

17            B.       Major Issues in Bankruptcy Case

18            The Debtor was founded in 2016. The Debtor’s principal is based in China and relied on

19 local parties to represent the Debtor in business dealings. Unfortunately, the parties entrusted with

20 assisting the Debtor with investments caused the Debtor to make bad investments. Most

21 significantly, the Debtor purchased a roughly 31 acre parcel (with a number of nearby and adjacent

22 parcels) at 2929 Amethyst, Los Angeles, CA 90032 (the “Lincoln Heights Property”) for

23 collectively about $22.5 million cash, without any debt. Thereafter, starting in around 2018, the

24 parties who are now defendants in the two Removed Actions (and some of the Avoidance Actions)

25 caused the Debtor to incur millions of dollars of hard money loans against the Lincoln Heights

26 Property and other real properties, resulting by the Petition Date in secured debt alleged by various
27 lenders in excess of $12 million. Efforts by the primary lender of the Lincoln Heights Property led

28 to the Debtor’s bankruptcy filing.

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 1            Some of the defendants in the Removed Actions were contracted to help the Debtor get the

 2 Lincoln Heights Property entitled for development. That never happened, and likely could neve

 3 happen. This became clear when the Debtor retained new professionals, including expert brokers

 4 in mid-2022. Thereafter, despite extensive marketing efforts with one of the top brokers of

 5 raw/undeveloped commercial land, after successfully fending off relief from stay for many months

 6 to allow such marketing, the Debtor was unable to obtain a single offer to purchase the Lincoln

 7 Heights Property that came close to paying off the existing debt on the Lincoln Heights Property.

 8 After going through this process, the Debtor believes that the Lincoln Heights Property is

 9 undevelopable, and likely never was developable. Its very steep, difficult to access terrain,

10 combined with political opposition to developing open spaces in the hills of Los Angeles make

11 development impossible. Thus, after the efforts of the estate’s professionals, the staggering debt

12 that the defendants caused the Debtor to incur becomes even more concerning, and the Debtor is

13 intent to continue to pursue recoveries from the parties who misled the Debtor and misappropriated

14 the funds borrowed by the Debtor.

15            The Lincoln Heights Property was lost to foreclosure in April of 2023.1

16            The Debtor has worked diligently to sell other assets, which though highly encumbered, had

17 sufficient equity to warrant sale.

18

19            C.       Chapter 11 Process

20            Now that the Debtor has completed disposition of its real estate assets, the Debtor is

21 prepared to move forward with a plan. The Debtor intends to file a plan within 30 days after the

22 status conference. The plan will vest the post-confirmation debtor with custody and control of the

23 pending litigation. The post-confirmation debtor will be able to continue engaging counsel to

24 prosecute the pending litigation in the bankruptcy court, and will be authorized to contract and pay

25

26
27   1
     Order granting relief from stay was entered in November 2022 (doc. no. 456) but ordered that
28 foreclosure could not be conducted before March 7, 2023.

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 1 its counsel in the ordinary course. Allowed claims and administrative expenses will be paid from

 2 recoveries from such litigation in order of priority under the Bankruptcy Code.

 3

 4 DATED: October 18, 2023                    DANNING, GILL, ISRAEL & KRASNOFF, LLP

 5

 6
                                              By:
 7                                                  ZEV SHECHTMAN
                                                    General Bankruptcy Counsel for Jinzheng Group
 8                                                  (USA) LLC, Debtor and Debtor in Possession
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): CHAPTER 11 STATUS REPORT will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 October 18, 2023 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) October 18, 2023 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Honorable Sandra R. Klein
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1582
Los Angeles, CA 90012

                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                          Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 October 18, 2023                          Patricia Morris                                       /s/ Patricia Morris
 Date                                      Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

    •   J Scott Bovitz bovitz@bovitz-spitzer.com
    •   David M Browne dmbrownelaw@gmail.com, dmbeaster@aol.com
    •   Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
    •   Scott W Carlson scarlson@stonercarlson.com, swcarl@pacbell.net
    •   Steven P Chang heidi@spclawoffice.com,
        schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.
        com;changsr75251@notify.bestcase.com
    •   Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
    •   Heidi M Cheng heidi@slclawoffice.com,
        assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com
    •   Susan Titus Collins scollins@counsel.lacounty.gov
    •   Nicholas S Couchot ncouchot@buchalter.com, docket@buchalter.com;marias@buchalter.com
    •   Jeffrey W Dulberg jdulberg@pszjlaw.com
    •   Anthony Dutra adutra@hansonbridgett.com, ssingh@hansonbridgett.com
    •   Oscar Estrada oestrada@ttc.lacounty.gov
    •   Danielle R Gabai dgabai@danninggill.com, dgabai@ecf.courtdrive.com
    •   Runmin Gao ivy.gao@aalrr.com, ryan.hobson@aalrr.com
    •   Richard Girgado rgirgado@counsel.lacounty.gov
    •   Brian T Harvey bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com
    •   M. Jonathan Hayes jhayes@rhmfirm.com,
        roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;
        rebeca@rhmfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
    •   Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
    •   Alphamorlai Lamine Kebeh akebeh@danninggill.com
    •   Peter A Kim peter@pkimlaw.com, peterandrewkim@yahoo.com
    •   Christopher J Langley chris@slclawoffice.com,
        omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
    •   Paul J Leeds Pleeds@fsl.law, ssanchez@fsl.law
    •   Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
    •   Damian J. Martinez damian.martinez@aalrr.com, julissa.ruiz@aalrr.com
    •   Eric A Mitnick MitnickLaw@gmail.com, mitnicklaw@gmail.com
    •   Matthew C Mullhofer MCM@MATTHEWCMULLHOFER.COM, assistant@matthewcmullhofer.com
    •   Giovanni Orantes go@gobklaw.com, gorantes@orantes-
        law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com
    •   Donald W Reid don@donreidlaw.com, 5969661420@filings.docketbird.com
    •   Matthew D. Resnik Matt@rhmfirm.com,
        roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;rebeca@rhmfirm.co
        m;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
    •   Peter J Ryan ryan@floresryan.com, schneider@floresryan.com
    •   Allan D Sarver ADS@asarverlaw.com
    •   Zev Shechtman zs@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
    •   David Samuel Shevitz david@shevitzlawfirm.com,
        shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
    •   John N Tedford jtedford@DanningGill.com, danninggill@gmail.com;jtedford@ecf.courtdrive.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •   Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov


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